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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-02168-WYD-MJW

  ROBERT A. PFAFF,

  Plaintiff(s),

  v.

  UNITED STATES OF AMERICA,

  Defendant(s).

                                   MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

        It is hereby ORDERED that Defendant USA’s Unopposed Motion to Stay the
  Scheduling/Planning Conference (docket no. 6) is GRANTED as follows. The Rule 16
  Scheduling Conference set on November 14, 2013, at 9:00 a.m. is VACATED and
  RESET to December 17, 2013, at 9:00 a.m. The parties shall file their proposed Rule
  16 Scheduling Order with the court five (5) days prior to the Rule 16 Scheduling
  Conference.

  Date: October 21, 2013
